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MONT|E ARR|NGTON
P|aintiff,
vs. Case No. 04-1059 T-AN

UN|TED STATES OF AMER|CA

v`n_/\_f\_f\../\._/V\_/\_d

Defendant.

 

ORDER EXTEND|NG T||VIE TO FILE DlSPOS|T|VE N|OT|ONS

 

Upon motion ofthe United States for an order entending the time for filing
dispositive motions and for good cause shown, |T |S THEREFORE

ORDERED that the date for filing dispositive motions is extended from Ju|y 15,
2005, to August 1, 2005, and the date for filing responses thereto is extended from
August 19, 2005 to September 2, 2005.

S/. %As /@J

S. THON|AS ANDERSON
U.S. MAGISTRATE JUDGE

DATED: w /f Zoo_i/
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This document entered on the docket sheet in compliance
with Hule 58 and/or 79 (a) FFlCP on "

 

STRIC COURT - WTERN DISITRCT oF TENNESSEE

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Honorable S. Anderson
US DISTRICT COURT

